
Petitioner's petition for a writ prohibiting Judge Marcus Ezelle from presiding further in circuit court case number 2015-CA-183 is granted. See Fla. R. Jud. Admin. 2.330(f) ; Bundvv. Rudd. 366 So. 2d 440 (Fla. 1978) ; Consulate Health Care v. Ho, 210 So. 3d 782 (Fla. 1st DCA 2017). A successor judge shall be immediately appointed pursuant to Florida Rule of Judicial Administration 2.215(b)(4). Respondent Caresync's motion for judicial notice is also granted.
CASANUEVA, KHOUZAM, and BLACK, JJ., Concur.
